          Case 1:20-mc-00192-PGG Document 9 Filed 09/23/20 Page 1 of 3




       UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF NEW YORK


IN RE THE APPLICATION OF
DREYMOOR FERTILIZERS PTE LTD
                                                  CASE NO. 1:20-mc-00192(PGG)

REQUEST FOR DISCOVERY PURSUANT
TO 28 U.S.C. § 1782




    DECLARATION OF PATRICK SALISBURY IN SUPPORT OF EX PARTE
APPLICATION FOR SUPPLEMENTAL DISCOVERY PURSUANT TO 28 U.S.C. § 1782


I, PATRICK SALISBURY, hereby declare as follows:
         1.     I am one of the attorneys of record for Plaintiffs in this action. The facts stated in

this declaration are known to me personally, and I could testify to them if called as a witness.

This declaration is submitted in support of Applicant Dreymoor Fertilizers Pte Ltd.’s ex parte

Application for Supplemental Discovery Pursuant to 28 U.S.C. § 1782.

         2.    This ex parte application is simply a supplemental application to the previous

application for discovery pursuant to 28 U.S.C. § 1782 filed on April 14, 2020 (the “April 2020

Application”) which was granted by order of this Court on May 18, 2020 (the “Previous Order”).

         3.    By this supplemental application, Dreymoor seeks to identify further payments

sent or received by newly identified individuals or entities, as well as payments from an

additional one year earlier time period, based on the discovery obtained from the Previous Order.

That previous discovery appears to show that a $100,000 payment made in early 2017 by Anna

Mikhailova and/or her entities to an entity controlled by an individual affiliated with Applicant,

and there appears to be no proper basis for this payment. The previous discovery also shows that




                                                  1
         Case 1:20-mc-00192-PGG Document 9 Filed 09/23/20 Page 2 of 3




payments appear to have been made to third parties at the same time that the debts were owed to

Applicant.

         4.    Thus, the discovery sought here will assist in identifying the basis of those

various payments starting in 2016, and the parties to those payments, and will assist in allowing

further tracing of the proceeds of any of those payments to currently unknown third parties,

and/or will assist in the tracing of assets that may have been fraudulently conveyed to unknown

third parties to impede, hinder or delay Dreymoor’s collection of the Award.

         5.    Applicant here seeks discovery from banks located in this District which were

reasonably likely to have been used as a direct transfer or an intermediary bank by AVAgro

LTD., Jennius Enterprises LLC, Dmitry Shimanovich, Jeanette Shimanovich, Giedre Vosyliene,

Anna Alexandra Adams (a/k/a Anna Mikhailova), UAB AVAgro, and AVAgro LLC. Those

direct transfer and/or intermediary banks are H.S.B.C. Bank U.S.A., N.A.; Bank of New York

Mellon; JPMorgan Chase Bank, N.A.; Citibank N.A.; Deutsche Bank; Wells Fargo Bank, N.A.;

Commerzbank AG; Bank of America, N.A.; and Merrill Lynch (collectively “the Banks”).

         6.    The discovery sought from the Banks here should provide the details of the

payments made to any unknown third parties by AVAgro LTD., Jennius Enterprises LLC,

Dmitry Shimanovich, Jeanette Shimanovich, Giedre Vosyliene, Anna Alexandra Adams (a/k/a

Anna Mikhailova), UAB AVAgro, and AVAgro LLC, as well as payments in 2016, and will

allow Dreymoor to locate any assets, including bank accounts held by any third parties, and

bring legal actions necessary to recover any fraudulently conveyed assets.

         7.    Attached hereto as Exhibit 1 is a proposed subpoena seeking the production of

documents from certain intermediary and/or direct transfer banks located in this district.

       I affirm, under the penalties of perjury, that the foregoing representations are true.



                                                 2
         Case 1:20-mc-00192-PGG Document 9 Filed 09/23/20 Page 3 of 3




Executed on this 22nd day of September, 2020 in Miami, Florida.

                                                                  By: /s/Patrick Salisbury

                                                                  PATRICK SALISBURY




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